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                                  UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF CALIFORNIA


   In re:                                             §   Case No. 15-07651-CL7
                                                      §
   JULIE R. ASPIRAS                                   §
                                                      §
                                                      §
                       Debtor(s)                      §

            CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION REPORT
            CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                       AND APPLICATION TO BE DISCHARGED (TDR)

           Ronald E. Stadtmueller, chapter 7 trustee, submits this Final Account, Certification that
   the Estate has been Fully Administered and Application to be Discharged.

        1)       All funds on hand have been distributed in accordance with the Trustee’s Final
 Report and, if applicable, any order of the Court modifying the Final Report. The case is fully
 administered and all assets and funds which have come under the trustee’s control in this case
 have been properly accounted for as provided by law. The trustee hereby requests to be
 discharged from further duties as a trustee.

        2)      A summary of assets abandoned, assets exempt, total distributions to claimants,
 claims discharged without payment, and expenses of administration is provided below:



 Assets Abandoned:             $22,300.00                 Assets Exempt:      $174,100.00
 (without deducting any secured claims)



 Total Distributions to                                   Claims Discharged
 Claimants:                        $710.84                Without Payment:    $122,850.28

 Total Expenses of
 Administration:                   $272,690.64


        3)      Total gross receipts of $423,983.76 (see Exhibit 1), minus funds paid to the
 debtor(s) and third parties of $150,582.28 (see Exhibit 2), yielded net receipts of $273,401.48
 from the liquidation of the property of the estate, which was distributed as follows:




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                                    CLAIMS              CLAIMS          CLAIMS              CLAIMS
                                  SCHEDULED            ASSERTED        ALLOWED               PAID
   Secured Claims
   (from Exhibit 3)               $1,398,237.99          $280,282.52            $0.00              $0.00
   Priority Claims:
       Chapter 7
       Admin. Fees and                     NA            $282,790.64     $272,790.64        $272,690.64
       Charges
        (from Exhibit 4)
       Prior Chapter
       Admin. Fees and                     NA                  $0.00            $0.00              $0.00
       Charges (from
       Exhibit 5)
       Priority
       Unsecured                   $121,207.55            $26,660.05            $0.00              $0.00
       Claims
       (From Exhibit 6)
   General Unsecured
   Claims (from                      $1,649.36             $9,313.01         $700.21            $710.84
   Exhibit 7)
            Total
      Disbursements               $1,521,094.90          $599,046.22     $273,490.85        $273,401.48

        4). This case was originally filed under chapter 11 on 11/30/2015. The case was
   converted to one under Chapter 7 on 03/04/2016. The case was pending for 0 months.

        5). All estate bank statements, deposit slips, and canceled checks have been submitted to
   the United States Trustee.

         6). An individual estate property record and report showing the final accounting of the
   assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for
   each estate bank account, showing the final accounting of the receipts and disbursements of
   estate funds is attached as Exhibit 9.

        Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
   foregoing report is true and correct.

          Dated: 05/06/2019                            By: /s/ Ronald E. Stadtmueller
                                                       /Ro Trustee
                                                       nal
                                                       d E.
                                                       Sta
                                                       dtm
                                                       uell
   STATEMENT: This Uniform Form is associated with an open
                                                       er bankruptcy case, therefore, Paperwork Reduction
   Act exemption 5 C.F.R. § 1320.4(a)(2) applies.



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                                                  EXHIBITS TO
                                                 FINAL ACCOUNT

  EXHIBIT 1 – GROSS RECEIPTS

                           DESCRIPTION                                      UNIFORM                           AMOUNT
                                                                           TRAN. CODE                        RECEIVED
 1744 Aryana Drive, Encinitas CA 92024                                        1110-000                         $56,000.00
 Julie Aspiras Medical Practice                                               1129-000                        $320,000.00
 Wells Fargo Bank Checking                                                    1129-000                          $5,000.00
 Wells Fargo Bank Savings                                                     1129-000                         $23,718.76
 2015 State tax refund                                                        1224-000                          $7,000.00
 Sanction to be paid by debtor                                                1249-000                         $12,265.00
 TOTAL GROSS RECEIPTS                                                                                         $423,983.76

  The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.

  EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                 PAYEE                                DESCRIPTION                         UNIFOR               AMOUNT
                                                                                             M                    PAID
                                                                                           TRAN.
                                                                                           CODE
 THE COURT CLERK OF                      Surplus Funds                                    8200-002             $94,582.28
 Ticor                                   Funds to Third Parties                           8500-002             $56,000.00
 TOTAL FUNDS PAID TO                                                                                           $150,582.2
 DEBTOR AND THIRD PARTIES                                                                                               8


  EXHIBIT 3 – SECURED CLAIMS

  CLAIM              CLAIMANT       UNIFORM               CLAIMS                 CLAIMS   CLAIMS                CLAIMS
 NUMBER                            TRAN. CODE          SCHEDULED               ASSERTED ALLOWED                   PAID
         6      Bank of America,      4110-000                    $0.00        $280,282.52           $0.00          $0.00
                N.A.
                WELLS FARGO           4110-000           $1,398,237.99                 $0.00         $0.00          $0.00
                BANK, N.A.
 TOTAL SECURED CLAIMS                                    $1,398,237.99         $280,282.52           $0.00          $0.00


  EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

             PAYEE           UNIFORM              CLAIMS               CLAIMS              CLAIMS               CLAIMS
                            TRAN. CODE         SCHEDULED             ASSERTED            ALLOWED                  PAID
 Ronald E.                    2100-000                     NA             $16,920.07      $16,920.07           $16,920.07
 Stadtmueller, Trustee
 Ronald E.                    2200-000                     NA               $183.57            $183.57            $83.57
 Stadtmueller, Trustee
 International Sureties,      2300-000                     NA               $115.68            $115.68           $115.68
 LTD
 Trustee Insurance            2420-000                     NA             $17,473.80      $17,473.80           $17,473.80
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 Agency
 Trustee Insurance             2420-000               NA        $1,164.92             $1,164.92          $1,164.92
 Group
 Trustee Insurnace             2420-000               NA        $1,241.52             $1,241.52          $1,241.52
 Agency
 Trustee Insurance             2420-750               NA        $1,164.92             $1,164.92          $1,164.92
 Agency
 Independent Bank              2600-000               NA              $0.00              $0.00               $0.00
 Integrity Bank                2600-000               NA        $8,274.51             $8,274.51          $8,274.51
 SULLIVAN HILL                 3210-000               NA      $212,115.00        $202,115.00           $202,115.00
 LEWIN REZ &
 ENGEL, A.P.L.C.,
 Attorney for Trustee
 SULLIVAN HILL                 3220-000               NA        $2,449.35             $2,449.35          $2,449.35
 LEWIN REZ &
 ENGEL, A.P.L.C.,
 Attorney for Trustee
 R DEAN JOHNSON,               3410-000               NA        $5,980.00             $5,980.00          $5,980.00
 Accountant for
 Trustee
 R DEAN JOHNSON,               3420-000               NA            $407.30            $407.30            $407.30
 Accountant for
 Trustee
 BONNIE                        3510-000               NA       $15,300.00          $15,300.00           $15,300.00
 KIPPERMAN,
 Realtor for Trustee
 TOTAL CHAPTER 7 ADMIN. FEES AND                      NA      $282,790.64        $272,790.64           $272,690.64
 CHARGES


  EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES
  NONE


  EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

  CLAIM           CLAIMANT           UNIFORM           CLAIMS          CLAIMS            CLAIMS          CLAIMS
 NUMBER                             TRAN. CODE      SCHEDULED        ASSERTED          ALLOWED             PAID
      1        Internal Revenue       5800-000              $0.00             $0.00           $0.00          $0.00
               Service
     1A        Internal Revenue       5800-000              $0.00     $26,660.05              $0.00          $0.00
               Service
      3        FRANCHISE              5800-000              $0.00             $0.00           $0.00          $0.00
               TAX BOARD
      4        United States          5800-000              $0.00             $0.00           $0.00          $0.00
               Trustee
               Internal Revenue       5800-000        $121,207.55             $0.00           $0.00          $0.00
               Service
 TOTAL PRIORITY UNSECURED CLAIMS                      $121,207.55     $26,660.05              $0.00          $0.00


  EXHIBIT 7 – GENERAL UNSECURED CLAIMS
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  CLAIM          CLAIMANT          UNIFORM           CLAIMS        CLAIMS       CLAIMS        CLAIMS
 NUMBER                           TRAN. CODE      SCHEDULED      ASSERTED     ALLOWED           PAID
      1a       Internal Revenue      7100-000            $0.00        $0.00        $0.00         $0.00
               Service
      1b       Internal Revenue      7100-000            $0.00    $8,612.80        $0.00         $0.00
               Service
      2        Capital One Bank      7100-000            $0.00      $263.41      $263.41       $263.41
               (USA), N.A.
      3a       FRANCHISE             7100-000            $0.00        $0.00        $0.00         $0.00
               TAX BOARD
     3A        FRANCHISE             7100-000            $0.00        $0.00        $0.00         $0.00
               TAX BOARD
      5        Capital One NA        7100-000            $0.00      $436.80      $436.80       $443.43
               Capital One Bank      7990-000            $0.00        $0.00        $0.00         $4.00
               (USA), N.A.
               Internal Revenue      7100-000        $1,649.36        $0.00        $0.00         $0.00
               Service
 TOTAL GENERAL UNSECURED CLAIMS                      $1,649.36    $9,313.01      $700.21       $710.84




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                                                                            FORM 1
                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                        Exhibit 8
                                                                ASSET CASES
Case No.:                       15-07651-CL7                                                       Trustee Name:                               Ronald E. Stadtmueller
Case Name:                      ASPIRAS, JULIE R.                                                  Date Filed (f) or Converted (c):            03/04/2016 (c)
For the Period Ending:          5/6/2019                                                           §341(a) Meeting Date:                       04/12/2016
                                                                                                   Claims Bar Date:                            06/16/2016

                         1                                 2                     3                          4                         5                         6

                 Asset Description                      Petition/        Estimated Net Value             Property               Sales/Funds              Asset Fully
                  (Scheduled and                      Unscheduled       (Value Determined by             Abandoned             Received by the        Administered (FA) /
             Unscheduled (u) Property)                   Value                 Trustee,            OA =§ 554(a) abandon.           Estate               Gross Value of
                                                                       Less Liens, Exemptions,                                                         Remaining Assets
                                                                          and Other Costs)

 Ref. #
1       1744 Aryana Drive, Encinitas                  $1,800,000.00                  $264,762.01           OA                          $56,000.00                       FA
        CA 92024
Asset Notes:     1/16/18 order extending employment of realtor entered; docket no. 325
                 2/6/17 amendment filed changing to 704 exemptions; docket no. 170
2       Wells Fargo Bank Checking                     $14,000.00                     $5,000.00                                            $5,000.00                     FA
Asset Notes:     2/6/17 amendment filed changing to 704 exemptions; docket no. 170
                 docket #124 changed value to $14,000.00
3       Wells Fargo Bank Savings                      $16,000.00                   $23,718.76                                          $23,718.76                       FA
Asset Notes:      2/6/17 amendment filed changing to 704 exemptions; docket no. 170
4      Household Goods and                             $2,800.00                           $0.00                                             $0.00                      FA
       Furnishings
Asset Notes:     2/6/17 amendment filed changing to 704 exemptions; docket no. 170
5       Casual and Work Clothing                           $650.00                         $0.00                                             $0.00                      FA
Asset Notes:      2/6/17 amendment filed changing to 704 exemptions; docket no. 170
6       Julie Aspiras Medical Practice                 $425,000.00                   $410,000.00           OA                         $320,000.00                       FA
Asset Notes:      2/6/17 amendment filed changing to 704 exemptions; docket no. 170
7       2009 Cadillac Escalade                          $16,000.00                    $13,100.00           OA                                $0.00                      FA
Asset Notes:      2/6/17 amendment filed changing to 704 exemptions; docket no. 170
                  changed and exempt by amendment docket #124
8       Sanction to be paid by debtor         (u)           $0.00                   $12,265.00                                         $12,265.00                       FA
9       2015 State tax refund                  (u)             $0.00                   $7,000.00                                          $7,000.00                     FA
10      2003 Apple iMac Computer               (u)         $250.00                         $0.00                                             $0.00                      FA
Asset Notes:      added docket #124
11      Costume earrings, semi                 (u)       $2,500.00                         $0.00                                             $0.00                      FA
        precious stones, necklace,
        bracelet
Asset Notes:      2/6/17 amendment filed changing to 704 exemptions; docket no. 170
                  added by amendment docket #124
12      Berkshire Term Life Insurance         (u)           $0.00                          $0.00                                             $0.00                      FA
Asset Notes:     2/6/17 amendment filed changing to 704 exemptions; docket no. 170
                 added by amendment docket #124
13      Santa Ynez Tribal Health clinic      (u)      $21,000.00                           $0.00                                             $0.00                      FA
        401k
Asset Notes:      2/6/17 amendment filed changing to 704 exemptions; docket no. 170
                  added by amendment docket #124
14      Julie Aspiras MD Professional         (u)      $15,000.00                          $0.00                                             $0.00                      FA
        Corp Defined Benefit Plan
Asset Notes:    2/6/17 amendment filed changing to 704 exemptions; docket no. 170
                added by amendment docket #124
15      2004 Dodge Ram Pickup Truck         (u)       $4,500.00                   $4,500.00                                                  $0.00                      FA
        - husband's property
Asset Notes:     2/6/17 amendment filed changing to 704 exemptions; docket no. 170
                 added by amendment docket #124
16      2005 V-Star 1100 Motorcycle -        (u)       $2,700.00                   $2,700.00                                                 $0.00                      FA
        husbands property
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                                                                           FORM 1
                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                       Exhibit 8
                                                               ASSET CASES
Case No.:                    15-07651-CL7                                                          Trustee Name:                             Ronald E. Stadtmueller
Case Name:                   ASPIRAS, JULIE R.                                                     Date Filed (f) or Converted (c):          03/04/2016 (c)
For the Period Ending:       5/6/2019                                                              §341(a) Meeting Date:                     04/12/2016
                                                                                                   Claims Bar Date:                          06/16/2016

                         1                                 2                    3                           4                         5                       6

                 Asset Description                      Petition/       Estimated Net Value              Property               Sales/Funds            Asset Fully
                  (Scheduled and                      Unscheduled      (Value Determined by              Abandoned             Received by the      Administered (FA) /
             Unscheduled (u) Property)                   Value                Trustee,             OA =§ 554(a) abandon.           Estate             Gross Value of
                                                                      Less Liens, Exemptions,                                                        Remaining Assets
                                                                         and Other Costs)

Asset Notes:       2/6/17 amendment filed changing to 704 exemptions; docket no. 170
                   added by amendment docket #124
 Ref. #
17      1995 Sleeptwood Coronado               (u)        $2,000.00                    $2,000.00                                            $0.00                     FA
        Trailer
 Asset Notes:    Husbands Property


TOTALS (Excluding unknown value)                                                                                                         Gross Value of Remaining Assets
                                                      $2,322,400.00                 $745,045.77                                       $423,983.76                 $0.00




     Major Activities affecting case closing:
      04/17/2019      unclaimed funds to court
      03/05/2019      wrote to debtors counsel re unclaimed funds
      11/20/2018      final distribution checks cut
      10/17/2018      TFR filed by UST, NFR filed
      10/02/2018      UST claim amended to zero, new TFR NFR uploaded
      08/22/2018      gave notice of cancellation of insurance
      08/22/2018      uploaded TFR/NFR filed final fee app
      05/08/2018      mailed insurance for May 2018
      04/02/2018      pay insurance for 4/2018
      03/30/2018      TRUSTEE SELLING REAL PROPERTY, NEGOTIATING WITH DEBTOR'S COUNSEL RE: RESOLUTION OF REMAINING
                      ASSETS. OBTAINED HEARING DATE FOR INTERIM FEE APPLICATIONS FOR MAY 21, 2018
      03/25/2018      UPDATED ETFR DATE
      01/16/2018      RE Broker employment extended til 7/14/18
      01/15/2018      filed ex parte motion to extend employment of RE Broker
      12/06/2017      paid insurance
      06/10/2017      Opening brief filed in BK Court, even though Appeal was filed in district Court
      05/11/2017      updated debtors attorney - substitution order entered
      04/19/2017      Debtor filed Notice of Appeal re sale order, Adv. granted i.e. kick out of occupants
      02/27/2017      deposited McGill deposit of $56k and delivered to escrow
      01/24/2017      OSC heard 1-23-17
      12/16/2016      email to debtors counsel re NSF check.
      11/29/2016      payment of first interim fees to Sullivan Hill
      08/30/2016      Motion to Compel hearing set for 9/12/16
      08/30/2016      Attempting to sell property
      03/28/2016      Investigating non-exempt equity medical practice and real property. Received funds from bank.


 Initial Projected Date Of Final Report (TFR):           12/31/2019                                                  /s/ RONALD E. STADTMUELLER
 Current Projected Date Of Final Report (TFR):           12/31/2019                                                  RONALD E. STADTMUELLER
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                                                                                                                                                             Page No: 1                 Exhibit 9
                                                                                               FORM 2
                                                                        CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          15-07651-CL7                                                                             Trustee Name:                           Ronald E. Stadtmueller
 Case Name:                        ASPIRAS, JULIE R.                                                                        Bank Name:                              Independent Bank
Primary Taxpayer ID #:             **-***1219                                                                               Checking Acct #:                        ******7651
Co-Debtor Taxpayer ID #:                                                                                                    Account Title:
For Period Beginning:              11/30/2015                                                                               Blanket bond (per case limit):          $6,000,000.00
For Period Ending:                 5/6/2019                                                                                 Separate bond (if applicable):

       1                2                                    3                                             4                                      5                       6                     7

   Transaction       Check /                            Paid to/               Description of Transaction                    Uniform           Deposit            Disbursement               Balance
      Date            Ref. #                         Received From                                                          Tran Code            $                     $


03/16/2016                     Wells Fargo Bank                        turnover of funds                                        *              $28,718.76                                       $28,718.76
                      {2}                                                                                       $5,000.00    1129-000                                                           $28,718.76
                      {3}                                                                                      $23,718.76    1129-000                                                           $28,718.76
03/31/2016                     Integrity Bank                          Bank Service Fee                                      2600-000                                          $20.92           $28,697.84
04/30/2016                     Integrity Bank                          Bank Service Fee                                      2600-000                                          $44.79           $28,653.05
05/31/2016                     Integrity Bank                          Bank Service Fee                                      2600-000                                          $46.21           $28,606.84
06/30/2016                     Integrity Bank                          Bank Service Fee                                      2600-000                                          $44.65           $28,562.19
07/31/2016                     Integrity Bank                          Bank Service Fee                                      2600-000                                          $46.07           $28,516.12
08/31/2016                     Integrity Bank                          Bank Service Fee                                      2600-000                                          $45.99           $28,470.13
09/23/2016            (8)      Julie Aspiras                           fees as sanctions per court order                     1249-000           $8,000.00                                       $36,470.13
09/30/2016                     Integrity Bank                          Bank Service Fee                                      2600-000                                          $46.10           $36,424.03
10/31/2016                     Integrity Bank                          Bank Service Fee                                      2600-000                                          $58.75           $36,365.28
11/02/2016           3001      International Sureties, LTD             Bond Payment                                          2300-000                                          $14.77           $36,350.51
11/29/2016           3002      SULLIVAN HILL LEWIN REZ & ENGEL,        first interim application #113                        3210-000                                     $28,571.00                $7,779.51
                               A.P.L.C.
11/29/2016           3003      SULLIVAN HILL LEWIN REZ & ENGEL,        first interim application #113                        3220-000                                         $138.94               $7,640.57
                               A.P.L.C.
11/30/2016                     Integrity Bank                          Bank Service Fee                                      2600-000                                          $56.75               $7,583.82
12/12/2016            (8)      Julie Aspiras                           sanction paid by debtor                               1249-000           $4,246.00                                       $11,829.82
12/20/2016            (8)      DEP REVERSE: Julie Aspiras              sanction paid by debtor                               1249-000          ($4,246.00)                                          $7,583.82
12/24/2016            (8)      Julie Aspiras, MD                       replacement check                                     1249-000           $4,265.00                                       $11,848.82
12/31/2016                     Integrity Bank                          Bank Service Fee                                      2600-000                                          $14.83           $11,833.99
01/31/2017                     Integrity Bank                          Bank Service Fee                                      2600-000                                          $19.09           $11,814.90
02/14/2017            (9)      State of California                     debtors 2015 tax refund                               1224-000           $7,000.00                                       $18,814.90
02/16/2017            (6)      Julie Aspiras                           from debtor                                           1129-000        $106,000.00                                       $124,814.90
02/16/2017            (6)      Julie Aspiras                           from debtor                                           1129-000          $25,000.00                                      $149,814.90
02/24/2017            (1)      Michael McGill                          down payment on house                                 1110-000          $56,000.00                                      $205,814.90
02/24/2017            (6)      Julie Aspiras                           payment from debtor                                   1129-000          $19,000.00                                      $224,814.90

                                                                                                                            SUBTOTALS          $272,983.76                $29,168.86
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                                                                                                                                                          Page No: 2                   Exhibit 9
                                                                                             FORM 2
                                                                       CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          15-07651-CL7                                                                          Trustee Name:                           Ronald E. Stadtmueller
 Case Name:                        ASPIRAS, JULIE R.                                                                     Bank Name:                              Independent Bank
Primary Taxpayer ID #:             **-***1219                                                                            Checking Acct #:                        ******7651
Co-Debtor Taxpayer ID #:                                                                                                 Account Title:
For Period Beginning:              11/30/2015                                                                            Blanket bond (per case limit):          $6,000,000.00
For Period Ending:                 5/6/2019                                                                              Separate bond (if applicable):

       1                2                                    3                                         4                                       5                       6                       7

   Transaction       Check /                           Paid to/              Description of Transaction                   Uniform           Deposit            Disbursement                 Balance
      Date            Ref. #                        Received From                                                        Tran Code            $                     $


02/24/2017            (6)      Julie Aspiras                          payment from debtor                                 1129-000          $70,000.00                                        $294,814.90
02/27/2017           3004      Ticor                                  deposit for Michael and Julie McGill                8500-002                                     $56,000.00             $238,814.90
02/28/2017                     Integrity Bank                         Bank Service Fee                                    2600-000                                           $79.29           $238,735.61
03/01/2017            (6)      Julie Aspiras                          payment from debtor                                 1129-000        $100,000.00                                         $338,735.61
03/31/2017                     Integrity Bank                         Bank Service Fee                                    2600-000                                          $548.69           $338,186.92
04/24/2017           3005      Trustee Insurance Agency               property insurance                                  2420-000                                         $1,164.92          $337,022.00
04/30/2017                     Integrity Bank                         Bank Service Fee                                    2600-000                                          $527.87           $336,494.13
05/31/2017                     Integrity Bank                         Bank Service Fee                                    2600-000                                          $499.88           $335,994.25
06/06/2017           3006      Trustee Insurance Agency               property insurance                                  2420-000                                         $1,164.92          $334,829.33
06/30/2017                     Integrity Bank                         Bank Service Fee                                    2600-000                                          $482.03           $334,347.30
06/30/2017           3007      Trustee Insurance Agency               property insurance 1744 Aryana Dr, Enciniats, CA    2420-750                                         $1,164.92          $333,182.38
07/30/2017           3008      Trustee Insurance Agency               1744 Aryana Dr., Encinitas CA Inv#8917              2420-000                                         $1,164.92          $332,017.46
07/31/2017                     Integrity Bank                         Bank Service Fee                                    2600-000                                          $495.29           $331,522.17
08/15/2017           3009      Trustee Insurnace Agency               property insurance                                  2420-000                                         $1,241.52          $330,280.65
08/31/2017                     Integrity Bank                         Bank Service Fee                                    2600-000                                          $492.82           $329,787.83
09/01/2017           3010      Trustee Insurance Agency               Sept 2017 Insurance                                 2420-000                                         $1,164.92          $328,622.91
09/27/2017           3011      Trustee Insurance Agency               1744 Aryana Dr., Encinitas, CA                      2420-000                                         $1,164.92          $327,457.99
09/30/2017                     Integrity Bank                         Bank Service Fee                                    2600-000                                          $472.82           $326,985.17
10/31/2017                     Integrity Bank                         Bank Service Fee                                    2600-000                                          $485.91           $326,499.26
11/01/2017           3012      Trustee Insurance Agency               Nov. 2017 property insurance                        2420-000                                         $1,164.92          $325,334.34
11/30/2017                     Integrity Bank                         Bank Service Fee                                    2600-000                                          $468.09           $324,866.25
12/01/2017           3013      International Sureties, LTD            Bond Payment                                        2300-000                                          $100.91           $324,765.34
12/06/2017           3014      Trustee Insurance Agency               1744 Aryana Dr, Encinitas                           2420-000                                         $1,164.92          $323,600.42
12/31/2017                     Integrity Bank                         Bank Service Fee                                    2600-000                                          $481.36           $323,119.06
01/05/2018           3015      Trustee Insurance Agency               1744 Aryana Dr                                      2420-000                                         $1,164.92          $321,954.14
01/31/2018                     Integrity Bank                         Bank Service Fee                                    2600-000                                          $479.11           $321,475.03
01/31/2018           3016      Trustee Insurance Agency               1744 Aryana Dr, Encinitas, CA                       2420-000                                         $1,164.92          $320,310.11
02/28/2018                     Integrity Bank                         Bank Service Fee                                    2600-000                                          $430.17           $319,879.94
                                                                                                                         SUBTOTALS          $170,000.00                $75,365.13
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                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          15-07651-CL7                                                                                Trustee Name:                             Ronald E. Stadtmueller
 Case Name:                        ASPIRAS, JULIE R.                                                                           Bank Name:                                Independent Bank
Primary Taxpayer ID #:             **-***1219                                                                                  Checking Acct #:                          ******7651
Co-Debtor Taxpayer ID #:                                                                                                       Account Title:
For Period Beginning:              11/30/2015                                                                                  Blanket bond (per case limit):            $6,000,000.00
For Period Ending:                 5/6/2019                                                                                    Separate bond (if applicable):

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   Transaction       Check /                          Paid to/             Description of Transaction                           Uniform            Deposit             Disbursement                 Balance
      Date            Ref. #                       Received From                                                               Tran Code             $                      $


03/06/2018           3017      Trustee Insurance Agency             1744 Aryana Dr. Encinitas                                   2420-000                                           $1,164.92          $318,715.02
03/31/2018                     Integrity Bank                       Bank Service Fee                                            2600-000                                            $474.13           $318,240.89
04/02/2018           3018      Trustee Insurance Agency             1744 Aryana Dr. Encinitas, CA                               2420-000                                           $1,164.92          $317,075.97
04/07/2018            (1)      DEP REVERSE: Michael McGill          down payment on house                                       1110-000          ($56,000.00)                                        $261,075.97
04/13/2018            (1)      Michael McGill                       down payment on house                                       1110-000          $56,000.00                                          $317,075.97
04/30/2018                     Integrity Bank                       Bank Service Fee                                            2600-000                                            $456.28           $316,619.69
05/08/2018           3019      Trustee Insurance Group              May 2018 insurance                                          2420-000                                           $1,164.92          $315,454.77
05/31/2018                     Integrity Bank                       Bank Service Fee                                            2600-000                                            $469.40           $314,985.37
05/31/2018           3020      SULLIVAN HILL LEWIN REZ & ENGEL,     interim fee award #341                                      3210-000                                       $155,021.50            $159,963.87
                               A.P.L.C.
05/31/2018           3021      SULLIVAN HILL LEWIN REZ & ENGEL,     interim cost award #341                                     3220-000                                           $2,120.41          $157,843.46
                               A.P.L.C.
05/31/2018           3022      Ronald E. Stadtmueller               interim fee award #341                                      2100-000                                        $15,198.01            $142,645.45
05/31/2018           3023      Ronald E. Stadtmueller               interim cost award #341                                     2200-000                                             $64.57           $142,580.88
06/01/2018           3024      Trustee Insurance Agency             June 2018 insurance 1744 Aryana Dr, Encinitas CA            2420-000                                           $1,164.92          $141,415.96
06/30/2018                     Integrity Bank                       Bank Service Fee                                            2600-000                                            $278.45           $141,137.51
07/03/2018           3025      Trustee Insurance Agency             1744 Aryana Dr., Encinitas, CA ASPIRAS 15-07651             2420-000                                           $1,164.92          $139,972.59
07/31/2018                     Integrity Bank                       Bank Service Fee                                            2600-000                                            $208.77           $139,763.82
08/02/2018           3026      Trustee Insurance Agency             insurance 1744 Aryana Dr, Encinitas CA                      2420-000                                           $1,164.92          $138,598.90
08/05/2018                     Independent Bank                     Bank Service Fee                                            2600-000                                             $33.49           $138,565.41
08/06/2018                     Independent Bank                     Bank Service Fee                                            2600-000                                            ($33.49)          $138,598.90
08/16/2018           3027      BONNIE KIPPERMAN                     per court order #353                                        3510-000                                        $15,300.00            $123,298.90
08/22/2018           3028      Trustee Insurance Agency             cancellation date 9-30-18 1744 Aryana Dr., Encinitas, CA    2420-000                                           $1,164.92          $122,133.98
09/26/2018           3029      R DEAN JOHNSON                       fees per order #392                                         3410-000                                           $5,980.00          $116,153.98
09/26/2018           3030      R DEAN JOHNSON                       costs per order #392                                        3420-000                                            $407.30           $115,746.68
09/26/2018           3031      SULLIVAN HILL LEWIN REZ & ENGEL,     fees per order #392                                         3210-000                                        $17,552.50             $98,194.18
                               A.P.L.C.



                                                                                                                               SUBTOTALS                  $0.00            $239,238.26
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                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         15-07651-CL7                                                                                      Trustee Name:                           Ronald E. Stadtmueller
 Case Name:                       ASPIRAS, JULIE R.                                                                                 Bank Name:                              Independent Bank
Primary Taxpayer ID #:            **-***1219                                                                                        Checking Acct #:                        ******7651
Co-Debtor Taxpayer ID #:                                                                                                            Account Title:
For Period Beginning:             11/30/2015                                                                                        Blanket bond (per case limit):          $6,000,000.00
For Period Ending:                5/6/2019                                                                                          Separate bond (if applicable):

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   Transaction       Check /                          Paid to/                  Description of Transaction                           Uniform           Deposit            Disbursement                 Balance
      Date            Ref. #                       Received From                                                                    Tran Code            $                     $


09/26/2018           3031      VOID: SULLIVAN HILL LEWIN REZ &                                                                       3210-003                                     ($17,552.50)           $115,746.68
                               ENGEL, A.P.L.C.
09/26/2018           3032      SULLIVAN HILL LEWIN REZ & ENGEL,     costs per order #392                                             3220-000                                          $190.00           $115,556.68
                               A.P.L.C.
09/26/2018           3033      SULLIVAN HILL LEWIN REZ & ENGEL,     fees per order #392                                              3210-000                                     $17,522.50              $98,034.18
                               A.P.L.C.
11/20/2018           3034      Ronald E. Stadtmueller               final costs per order #387                                       2200-000                                           $19.00            $98,015.18
11/20/2018           3035      Ronald E. Stadtmueller               Trustee Compensation                                             2100-000                                         $1,722.06           $96,293.12
11/20/2018           3036      SULLIVAN HILL LEWIN REZ & ENGEL,     Account Number: ; Claim #: ; Dividend: 1.02;                     3210-000                                         $1,000.00           $95,293.12
                               A.P.L.C.                             Distribution Dividend: 100.00; Amount Allowed:
                                                                    18,522.50; Amount Claimed: 28,522.50;
11/20/2018           3037      JULIE R. ASPIRAS                     Account Number: ; Claim #: ; Dividend: 96.49;                    8200-002                                     $94,582.28                  $710.84
                                                                    Distribution Dividend: 100.00; Amount Allowed:
                                                                    94,582.28; Amount Claimed: 94,582.28;
11/20/2018           3038      Capital One Bank (USA), N.A.         Account Number: ; Claim #: 2; Dividend: 0.27;                       *                                              $267.41                $443.43
                                                                    Distribution Dividend: 100.00; Amount Allowed: 263.41;
                                                                    Amount Claimed: 263.41;
                                                                    Claim Amount                                        $(263.41)    7100-000                                                                 $443.43
                                                                     Interest                                             $(4.00)    7990-000                                                                 $443.43
11/20/2018           3039      Capital One NA                       Account Number: ; Claim #: 5; Dividend: 0.45;                       *                                              $443.43                   $0.00
                                                                    Distribution Dividend: 100.00; Amount Allowed: 436.80;
                                                                    Amount Claimed: 436.80;
                                                                    Claim Amount                                        $(436.80)    7100-000                                                                    $0.00
                                                                     Interest                                             $(6.63)    7990-000                                                                    $0.00
04/17/2019           3039      STOP PAYMENT: Capital One NA         Account Number: ; Claim #: 5; Dividend: 0.45;                       *                                             ($443.43)               $443.43
                                                                    Distribution Dividend: 100.00; Amount Allowed: 436.80;
                                                                    Amount Claimed: 436.80;
                                                                    Claim Amount                                        $436.80      7100-004                                                                 $443.43
                                                                     Interest                                              $6.63     7990-004                                                                 $443.43




                                                                                                                                    SUBTOTALS                $0.00                $97,307.32
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                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         15-07651-CL7                                                                                      Trustee Name:                           Ronald E. Stadtmueller
 Case Name:                       ASPIRAS, JULIE R.                                                                                 Bank Name:                              Independent Bank
Primary Taxpayer ID #:            **-***1219                                                                                        Checking Acct #:                        ******7651
Co-Debtor Taxpayer ID #:                                                                                                            Account Title:
For Period Beginning:             11/30/2015                                                                                        Blanket bond (per case limit):          $6,000,000.00
For Period Ending:                5/6/2019                                                                                          Separate bond (if applicable):

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   Transaction       Check /                         Paid to/             Description of Transaction                                 Uniform           Deposit            Disbursement                Balance
      Date            Ref. #                      Received From                                                                     Tran Code            $                     $


04/17/2019           3037      STOP PAYMENT: JULIE R. ASPIRAS      Account Number: ; Claim #: ; Dividend: 96.49;                     8200-004                                     ($94,582.28)           $95,025.71
                                                                   Distribution Dividend: 100.00; Amount Allowed:
                                                                   94,582.28; Amount Claimed: 94,582.28;
04/17/2019           3040      THE COURT CLERK OF                  unclaimed funds - claim #5 Capital One Bank                       7100-000                                         $443.43            $94,582.28
04/17/2019           3041      THE COURT CLERK OF                  unclaimed funds of debtor                                         8200-002                                     $94,582.28                    $0.00

                                                                                     TOTALS:                                                           $423,983.76            $423,983.76                       $0.00
                                                                                         Less: Bank transfers/CDs                                            $0.00                  $0.00
                                                                                     Subtotal                                                          $423,983.76            $423,983.76
                                                                                         Less: Payments to debtors                                           $0.00             $94,582.28
                                                                                     Net                                                               $423,983.76            $329,401.48



                     For the period of 11/30/2015 to 5/6/2019                                                    For the entire history of the account between 03/16/2016 to 5/6/2019

                     Total Compensable Receipts:                   $423,983.76                                   Total Compensable Receipts:                                 $423,983.76
                     Total Non-Compensable Receipts:                     $0.00                                   Total Non-Compensable Receipts:                                   $0.00
                     Total Comp/Non Comp Receipts:                 $423,983.76                                   Total Comp/Non Comp Receipts:                               $423,983.76
                     Total Internal/Transfer Receipts:                   $0.00                                   Total Internal/Transfer Receipts:                                 $0.00


                     Total Compensable Disbursements:              $178,819.20                                   Total Compensable Disbursements:                           $178,819.20
                     Total Non-Compensable Disbursements:          $245,164.56                                   Total Non-Compensable Disbursements:                       $245,164.56
                     Total Comp/Non Comp Disbursements:            $423,983.76                                   Total Comp/Non Comp Disbursements:                         $423,983.76
                     Total Internal/Transfer Disbursements:              $0.00                                   Total Internal/Transfer Disbursements:                           $0.00
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                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         15-07651-CL7                                                                             Trustee Name:                           Ronald E. Stadtmueller
Case Name:                       ASPIRAS, JULIE R.                                                                        Bank Name:                              Independent Bank
Primary Taxpayer ID #:           **-***1219                                                                               Checking Acct #:                        ******7651
Co-Debtor Taxpayer ID #:                                                                                                  Account Title:
For Period Beginning:            11/30/2015                                                                               Blanket bond (per case limit):          $6,000,000.00
For Period Ending:               5/6/2019                                                                                 Separate bond (if applicable):

      1                 2                                3                                        4                                             5                       6                    7

  Transaction        Check /                         Paid to/             Description of Transaction                       Uniform           Deposit            Disbursement               Balance
     Date             Ref. #                      Received From                                                           Tran Code            $                     $




                                                                                                                                                                             NET             ACCOUNT
                                                                                    TOTAL - ALL ACCOUNTS                           NET DEPOSITS                         DISBURSE            BALANCES

                                                                                                                                           $423,983.76             $423,983.76                       $0.00




                     For the period of 11/30/2015 to 5/6/2019                                          For the entire history of the case between 03/04/2016 to 5/6/2019

                     Total Compensable Receipts:                   $423,983.76                         Total Compensable Receipts:                                 $423,983.76
                     Total Non-Compensable Receipts:                     $0.00                         Total Non-Compensable Receipts:                                   $0.00
                     Total Comp/Non Comp Receipts:                 $423,983.76                         Total Comp/Non Comp Receipts:                               $423,983.76
                     Total Internal/Transfer Receipts:                   $0.00                         Total Internal/Transfer Receipts:                                 $0.00


                     Total Compensable Disbursements:              $178,819.20                         Total Compensable Disbursements:                            $178,819.20
                     Total Non-Compensable Disbursements:          $245,164.56                         Total Non-Compensable Disbursements:                        $245,164.56
                     Total Comp/Non Comp Disbursements:            $423,983.76                         Total Comp/Non Comp Disbursements:                          $423,983.76
                     Total Internal/Transfer Disbursements:              $0.00                         Total Internal/Transfer Disbursements:                            $0.00




                                                                                                                       /s/ RONALD E. STADTMUELLER
                                                                                                                       RONALD E. STADTMUELLER
